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                                                             NON-CONFIDENTIAL VERSION



          IN THE UNITED STATES COURT OF INTERNATIONAL TRADE



 1VIARMEN INC., et al.,

                          Plaintiffs,

              and
                                                       Before: Hon. Jennifer Choe-Groves,
 WIND TOWER TRADE COALITION,                                   Judge

                          Consolidated Plaintiff,
                                                       Consol. Court No. 20-00169
              V.
                                                       NON-CONFIDENTIAL VERSION
 UNITED STATES,

                          Defendant,                   Business Proprietary Information
                                                       Removed from Pages: 3, 4, 6, 9, 10,
              and
                                                       12-17, and 19-22
 WIND TOWER TRADE COALITION, et al.,

                          Defendant-Intervenors.




               WIND TOWER TRADE COALITION'S REPLY BRIEF




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Dated: May 28, 2021
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 I.     INTRODUCTION

        On behalf of the Wind Tower Trade Coalition ("WTTC"), we respectfully submit the

 following reply to the response briefs filed by Defendant the United States ("the Government")

 and Defendant-Intervenors Marmen Inc., Marmen Énergie Inc., and Marmen Energy Co.

 (collectively, "Marmen"). See Def.'s Resp. to Pls.' Rule 56.2 Mots. for J. Upon Agency R. (Apr.

 30, 2021), ECF No. 37 ("Government's Brief'); Def.-Ints.' Resp. in Opp'n to Consol. Pl.'s Rule

 56.2 Mot. for J. Upon Agency R. (Apr. 30, 2021), ECF No. 34 ("Marmen's Brief').

 II.    ARGUMENT

        This appeal arises from an antidumping duty investigation into utility scale wind towers

 from Canada. See Utility Scale Wind Towers from Canada, 85 Fed. Reg. 40,239 (Dep't Commerce

 July 6, 2020) (final deter. of sales at less than fair value and final negative deter. of critical

 circumstances), P.R. 196 and accompanying Issues and Decision Memorandum, P.R. 192 ("Final

 IDM"). WTTC has appealed (1) the selection of invoice date as Marmen's date of sale in the home

 and U.S. markets, (2) treatment of Marmen's home market sales as sales of tower sections, and

 (3) the determination not to employ adverse inferences in determining Marmen's final

 antidumping duty margin.

        A.      Commerce Erred in Selecting Dates of Sale

        In   calculating   antidumping   duty   margins,   the   U.S.   Department    of Commerce

 ("Commerce") seeks to compare the prices of contemporaneous U.S. and home market sales. See,

 e.g., 19 U.S.C. § 1677b(a)(1)(A). For each market, Commerce selects a"date of sale" on which

 material selling terms are deemed to have become finally established in the minds of buyer and

 seller. "Normally," invoice date will be treated as the date of sale, but where Commerce "is

 presented with satisfactory evidence that the material terms of sale are finally established on adate




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 other than the date of invoice, {Commerce} will use that alternative date as the date of sale."


 19 C.F.R. §351.401(i); Antidumping Duties; Countervailing Duties, 62 Fed. Reg. 27,296, 27,349

 (Dep't Commerce May 19, 1997) ("Preamble"). Sales of "large custom-made merchandise in


 which the parties engage in formal negotiation and contracting procedures" are particularly likely


 to involve the establishment of material sales terms on adate other than invoice date. Preamble,


 62 Fed. Reg. at 27,349.


        The standard of review applicable to this action requires Commerce to support its


 determinations with substantial record evidence and for those determinations to be otherwise in

 accordance with law. 19 U.S.C. §1516a(b)(1)(B)(i). This standard requires Commerce to address


 all "important aspect{s} of the problem" before it. Motor Vehicle 11/ifrs. Ass 'n cf the U.S., Inc. v.


 State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983). Commerce must also "provide a'rational

 connection between the facts found and the choice made" and "articulate a satisfactory


 explanation for its action." Baroque Timber Indus. (Zhongshan) Co. v. United States, 971 F. Supp.

 2d 1333, 1339-40 (Ct. Int'l Trade 2014) (quoting Burlington Truck Lines, Inc. v. United States,


 371 U.S. 156, 168 (1962) and Yangzhou Besipak Gfts & Crcfts Co. v. United States, 716 F.3d


 1370, 1378 (Fed. Cir. 2013)); see also SKF USA Inc. v. United States, 263 F.3d 1369, 1378, 1382-

 83 (Fed. Cir. 2001). Overall, Commerce's determinations must be reasonable and may not reflect


 arbitrary decision-making. Nippon Steel Cotp. v. United States, 458 F.3d 1345, 1351 (Fed. Cir.

 2006); SKF USA, 263 F.3d at 1378, 1382-83.


        In its opening brief, WTTC explained that Commerce's selection of invoice date as


 Marmen's home and U.S. market date of sale was inconsistent with the standard of review. Wind


 Tower Trade Coalition's Mem. in Supp. of its Rule 56.2 Mot. for J. Upon the on Agency R. (Jan.


 29, 2021), ECF No. 25 at 18-33 ("WTTC's Brier). While the Government and Marmen argue that




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 Commerce's date of sale determinations were justified, their arguments are unpersuasive, as


 explained below.

                1.     Commerce Erred in Selecting Marmen's Home-Market Date of Sale

        Marmen reported invoice date as its home market date of sale, but conceded that its sales


 were made pursuant to purchase orders. Letter from White & Case LLP to Sec'y Commerce, re:


 Utility Scale Wind Towers from Canada: Stipplemental Sections A, B, and C Response (Dec. 11,


 2019) at FSQ-4 and Exhibit FSQ-2, C.R. 142-157, P.R. 120-121 ("1SABCQR"); Letter from

 White & Case LLP to Sec'y Commerce, re: Utility Scale Wind Towers from Canada: Sections B,

 C, and D Response (Oct. 11, 2019) at B-24, C.R. 40-95, P.R. 89-97 ("BDQR"). These purchase


 orders, as well as other documents resulting from the nearly [                 ]of negotiations that


 preceded the purchase orders, reflected terms under which Marmen's customer, Vestas, was solely

 responsible for transporting wind towers from Marmen's facilities. 1SABCQR at FSQ-16, Exhibit


 FSQ-1 ([                                 ]at [                 ]and Purchase Orders [

                                                    ]); see also id. at Exhibit FSQ-12, ([


                       ]) (E                                                                      ]);

 see Letter from White & Case LLP to Sec'y Commerce, re: Utility Scale Wind Towers from


 Canada: Section A Response (Sept. 13, 2019) at A-21 — A-22, C.R. 35-38, P.R. 76 ("AQR")

 (describing Marmen/Vestas's responsibilities and activities regarding freight).


        As of [                   ], the date on which Vestas issued its purchase orders for Marmen's


 wind towers, the parties understood that Vestas would send trucks to pick up the goods. 1SABCQR


 at FSQ-12, Exhibit FSQ-1 ([                                                       ], Purchase Orders


 E                                                                   ]) and Exhibit FSQ-12 ([


                                  ]) ([                        ], stating that [




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                                                          D.   However, Vestas later requested that


 Marmen load the goods onto rail cars. Id. at FSQ-12; see also id. at Exhibit FSQ-6 (Marmen's


 E            ]quote for [                    ]). Vestas then issued Marmen [


                             ]to cover Marmen's loading of the wind towers on rail cars, and


 Marmen issued [


                     Iid. at FSQ-12, Exhibit FSQ-6 ([                                        ]) and


 Exhibit FSQ-15 ([


                                                    ]).

        In response to Marmen's claim that material sales terms were set only upon invoicing,


 Commerce requested that Marmen demonstrate that changes to material sales terms occurred, in


 at least one instance, between purchase order and invoice date. Id. at FSQ-12. Marmen identified

 no changes to price, quantity, delivery date, or payment terms. Id. at FSQ-12 —FSQ-13. Rather, it


 noted that, after initially contemplating that Vestas would transport its wind towers by truck,

 Vestas [                         ]Marmen to load the towers onto rail cars. Id. at FSQ-12 —FSQ-


 13 and Exhibit FSQ-6.


        WTTC argued that this did not constitute amaterial change to the terms of sale for the

 towers. Letter from Wiley Rein LLP to Sec'y Commerce, re: Utility Scale Wind Towers from


 Canada: Case Brief (Apr. 24, 2020) at 13-35, C.R. 220, P.R. 179 ("WTTC's Case Brier).

 Commerce rejected these arguments in its Final IDM. See Final IDM at 15-16. But as explained


 in WTTC's opening brief, Commerce's stated bases for selecting invoice date as the home-market


 sale date did not comport with the standard of review. WTTC's Brief at 19-31.


        The Government and Marmen nonetheless defend Commerce's selection of invoice date


 as Marmen's home-market date of sale. Government's Brief at 30-40; Marmen's Brief at 4-14.




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 The Government argues that the regulatory presumption in favor of invoice date placed the burden

 on the WTTC to demonstrate that invoice date was not an appropriate date of sale. Government's

 Brief at 32-33, 36. The Government and Marmen also claim that the date of sale must be the same

 in both the home and U.S. markets. Id. at 33; Marmen's Brief at 5-6. Next, the defense argues that

 Commerce's home-market date of sale selection was supported by amaterial change to delivery

 terms. Government's Brief at 33-36; Marmen's Brief at 7-10. The defense then argues that

 Commerce adequately addressed WTTC's case brief arguments, Government's Brief at 36-37,

 before arguing in support of Commerce's reliance on aprior case involving Vietnamese wind

 towers. Id. at 37-38; Marmen's Brief at 13. Finally, the defense argues that Commerce's decision

 not to utilize its "Custom-Made Goods" exception to the use of invoice date was consistent with

 the standard of review. Government's Brief at 38-40; Marmen's Brief at 10-12, 14. The defense's

 arguments, however, do not withstand scrutiny.

        The Government first argues that, given Commerce's regulatory preference for invoice

 date, WTTC bore the burden of showing that invoice date was not an appropriate date of sale.

 Government's Brief at 32-33, 36. But while the agency's regulations indicate that invoice date will

 "normally" be the date of sale, the Preamble states that situations involving large scale, custom-

 made goods "usually" call for use of another date. Preamble, 62 Fed. Reg. at 27,349. Further,

 Congress has expressed its intent that "the date of sale be flexible so as to accurately reflect the

 true date on which the material elements of sale {are} established." Allied Tube and Conduit Coip.

 v. United States, 24 CIT 1357, 1370, 127 F. Supp. 2d 207, 219 (2000). As such, "the invoice date

 presumption is merely a'starting point' in the determination of which date better reflects the date

 on which the material terms of sale were established." Sahaviriya Steel Indus. Pub. Co. v. United

 States, 34 CIT 709, 727, 714 F. Supp. 2d 1263, 1280 (2010). Because invoice date is only a




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 "starting point," Commerce is not entitled to treat it as an endpoint regardless of the record

 evidence. For the same reasons, the Government's attempt to defend Commerce's selection of

 invoice date as consistent with questionnaire instructions rings hollow. See Government's Brief

 at 40; see also WTTC's Brief at 21-22.

        Moreover, WTTC met its burden. It would be arbitrary and unreasonable — and thus

 inconsistent with the standard of review —for Commerce to hold WTTC to an evidentiary standard

 that it has not imposed upon Marmen. Commerce tested Marmen's claim that the material terms

 of its tower sales to Vestas were set only upon invoicing by asking Marmen to demonstrate at least

 one material change in selling terms between purchase order and invoice date. 1SABCQR at FSQ-

 12 —FSQ-13. WTTC was thus required only to show, as it did, that the record indicated that the

 purported change identified by Marmen was not achange at all, much less asignificant change to

 material terms of sale. See, e.g., WTTC's Brief at 19-21, 23-27. At best, Marmen demonstrated

 that Vestas [                                           ], pursuant to [

                                                                                           ]for the

 towers. 1SABCQR at FSQ-12 and Exhibit FSQ-6; see also id. at Exhibit FSQ-1 (purchase orders

 for towers).

         To the extent that the Government argues that WTTC should have come forward with

 affirmative evidence of lack of changes in material terms, this would represent an unfair — and

 nearly impossible — standard. Government's Brief at 32-33, 36. Petitioners are not in possession

 of any of respondents' sales documents, which are what Commerce requires for examination of

 the proper date of sale. Again, having pointed out that the record compiled by Marmen to

 demonstrate changes in material terms of sale did not bear out the company's claims, WTTC met

 its burden.




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        The Government and Marmen next argue that Commerce's longstanding practice requires

 that the same date of sale be used in both the home and U.S. markets. Government's Brief at 33;

 Marmen's Brief at 5-6. For this proposition, the Government cites the Preamble, while Marmen

 points to the Preamble and various administrative precedents. Government's Brief at 33;

 Marmen's Brief at 5. These sources, however, do not bear out the defense's claims.

        While the Preamble refers to a"uniform" date of sale, Commerce's practice and judicial

 precedent indicates that this means auniform date for arespondent's sales in each market, not a

 uniform date for arespondent's sales across both markets. Preamble, 62 Fed. Reg. at 27,348-49.

 Specifically, Commerce has found, and the courts have approved, different home and U.S. dates

 of sale where the record shows that buyers/sellers in each market set material terms on different

 dates. See, e.g., Ereg-li Demir ve Celik Fabrikalari T.A.5. v. United States, 308 F. Supp. 3d 1297,

 1307-14 (Ct. Int'l Trade 2018) (rejecting invoice date as home market date of sale while affirming

 it as U.S. date of sale); Rebar Trade Action Coal. v. United States, No. 14-00268, slip op. 15-130

 at 17 (Ct. Int'l Trade Nov. 23, 2015) (noting the Commerce "matches U.S. and home market sales

 to one another on the basis ...of the respondent's 'date of sale' in each market.") (emphasis

 added); Preliminary Decision Memorandum accompanying Steel Concrete Reirforcing Bar from

 Turkey, 79 Fed. Reg. 22,804 (Dep't Commerce Apr. 24, 2014) (prelim. affirm. deter. of sales at

 less than fair value, prelim. affirm. deter. of critical circumstances, and postponement of final

 deter.) at 16-17 (selecting contract date as Habas's U.S. sales date and invoice date as Habas's

 home-market sales date) (unchanged in final); Preliminary Decision Memorandum accompanying

 Circular Welded Carbon Steel Pipes and Tubes from Thailand, 78 Fed. Reg. 21,105 (Dep't

 Commerce Apr. 9, 2013) (prelim. results antidumping duty admin. review; 2011-2012) at 6-7




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 (selecting contract date as the home-market sales date and invoice date as the U.S. sales date)

 (unchanged in final).

         The precedents that Marmen cites are not to the contrary. For example, in Commerce's

 investigation into Spanish wire rod, Commerce stated that its practice is to use a"uniform" date

 of sale in response to aparty's argument that the agency should assign different dates of sale to

 different U.S. sales. Issues and Decision Memorandum accompanying Carbon and Alloy Steel

 Wire Rod from Spain, 83 Fed. Reg. 13,233 (Dep't Commerce Mar. 28, 2018) (final deter. of sales

 at less than fair value, and final deter. of critical circumstances, in part) at 11-15 (emphasis added).

 Because Commerce was being asked only whether there should be multiple dates of sale within a

 single market, it statement indicates nothing about uniformity across markets. id. Likewise, in the

 other precedents cited by Marmen, Commerce addressed the question of whether it should apply

 unique dates of sale for each sale made by arespondent, including those made within asingle

 market. See Issues and Decision Memorandum accompanying Ferrovanadium from the &public

 cf Korea, 82 Fed. Reg. 14,874 (Dep't Commerce Mar. 23, 2017) (final deter. of sales at less than

 fair value) at 6-8; Issues and Decision Memorandum accompanying Crystalline Silicon

 Photovoltaic Cells, Whether or Not Assembled into Modules, from the People's &public cf China,

 77 Fed. Reg. 63,791 (Dep't Commerce Oct. 17, 2012) (final deter. of sales at less than fair value,

 and affirm. final deter. of critical circumstances, in part) at 17-18; Issues and Decision

 Memorandum accompanying Large Power Tramformers from the &public cf Korea, 77 Fed.

 Reg. 40,857 (Dep't Commerce July 11, 2012) (final deter. of sales at less than fair value) at 21.

 These precedents are accordingly not germane to the question at hand. And in any event,

 Commerce's selection of the home-market date of sale (and, separately, the U.S. sale) must be

 adequately explained and supported by the record. The defense cannot rehabilitate inadequate




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 decision-making with respect to one market's date of sale by pointing to the other market's date

 of sale.'

         The Government and Marmen next argue that Commerce's home-market date of sale

 selection was supported by amaterial change in delivery terms. Government's Brief at 33-36;

 Marmen's Brief at 7-8. The defense claims that Vestas's post-purchase order request for "a change

 in transportation mode" affected all ordered wind tower sections, and was thus material to the wind

 tower sale. Government's Brief at 34; Marmen's Brief at 8-9. The defense also argues that

 Commerce has clarified that material terms of sale "can" include delivery terms. Government's

 Brief at 34-35; Marmen's Brief at 10. These rejoinders do not establish that Commerce adequately

 or appropriately considered the questions of whether the "change in transportation mode" was a

 significant change to amaterial term of the tower sale.

         Again, the record shows that Vestas assumed transportation costs from the outset, and

 contracted with Marmen for rail-loading services [                            ]its tower purchase.

 1SABCQR at FSQ-12, FSQ-16, and Exhibit FSQ-6; see also id. at Exhibit FSQ-1 (purchase orders

 for towers). Given these facts, the argument that the rail-loading services "affected all wind tower

 sections" is insufficient to explain and support Commerce's date of sale selection, given that

 Vestas had assumed all transportation costs, and [            ]contracted for rail-loading services.

 Government's Brief at 34; see also Marmen's Brief at 8. As such, the Government's conclusory

 statements that Commerce complied with the standard of review are unpersuasive. Government's

 Brief at 34-35.




 1       For just this reason, Marmen's claim that Commerce appropriately rejected WTTC's case
 brief arguments in support of multiple U.S. dates of sale is irrelevant to Commerce's selection of
 the home-market date of sale. See Marmen's Brief at 5-6.



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        Similarly, even if material terms of sale "can" include delivery terms, id.; Marmen's Brief

 at 10, it is not clear why Commerce found that delivery terms constituted amaterial term here,

 much less why it treated Vestas's decision to [                   ]for rail-loading services as part

 of the tower sale. Final IDM at 15-16; see also WTTC's Brief at 23-27. For that matter, WTTC

 has not argued that delivery terms can never be amaterial term; rather, it has argued that Commerce

 has previously found that changes in delivery terms are not necessarily controlling. WTTC's Brief

 at 26. The lone case cited by the Government, which does not appear to have involved achange in

 delivery terms, fails to establish why Commerce found transportation mode controlling in this

 case. Government's Brief at 34-35 (citing Issues and Decision Memorandum accompanying Large

 Power Tramformers from the &public cfKorea, 82 Fed. Reg. 13,432 (Dep't Commerce Mar. 13,

 2017) (final results of antidumping duty admin. review; 2014-2015) at 55-56). Nor does the prior

 judicial precedent that Marmen cites establish why Commerce found transportation mode

 controlling in this case. At best, it indicates —as WTTC does not dispute —that delivery terms are

 among the terms that Commerce analyzes in determining whether asignificant change in amaterial

 sales term has taken place. Marmen's Brief at 10 (citing Sahaviriya Steel, 34 CIT at 727, 714 F.

 Supp. 2d at 1280, Nakornthai Strip Mill Pub. Co. v. United States, 33 CIT 326, 337, 614 F. Supp.

 2d 1323, 1334 (2009)). 2 The fact that aterm is subject to analysis, however, does not mean that




 2       Marmen also cites to SeAH Steel Coil,. v. United States, 25 CIT 133, 134 (2001). Marmen's
 Brief at 10. This case, however, does not mention delivery terms as apotentially material term of
 sale. While it mentions "delivery dates," it also states that Commerce has found that these do not
 constitute material selling terms. SeAH Steel, 25 CIT at 136 n.3.



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 the term is material in every contract, or that every change to such aterm (if, indeed, there is such

 achange) is significant. Sahaviriya Steel, 34 CIT at 727-28, 714 F. Supp. 2d at 1280. 3

         The Government next claims that Commerce considered all important aspects of the

 problem before it. Government's Brief at 36-37. The Government notes that the Final IDM

 summarized WTTC's arguments, and that Commerce quoted WTTC's case brief in explaining its

 home-market date of sale selection. Id. at 36. The Government also explains that Marmen provided

 evidence of achange in the material terms of ahome market sale and that Commerce was entitled

 to rely on Marmen's certified representation that changes to material sales terms "may occur until

 the invoice is finalized." Id. at 36-37.

         These   arguments     fare   no    better   than   those   previously   addressed.   Commerce's

 summarization of WTTC's case brief does not substitute for adequate explanation of its reasons

 for rejecting WTTC's arguments. Nor does such summarization, or the inclusion of aquotation

 from WTTC's case brief in the Final IDM, establish that the agency adequately and appropriately

 considered all aspects of the problem before it. Likewise, Commerce's conclusion that Marmen

 provided evidence of a change to a home market sales term does not, by itself, explain that

 conclusion, particularly in light of WTTC's arguments, Commerce's Preamble, and Commerce's

 prior precedent. And while the Government argues that Commerce was entitled to rely on

 Marmen's representations, Commerce did not cite these representations in explaining its date of

 sale determination. Final IDM at 15-16. It instead relied on Marmen's documentation purporting

 to show achange in material sales terms between purchase order and invoice date. Id. But even if

 Commerce had cited Marmen's representations, Commerce still would have been required to



 3      Marmen argues that Commerce's antidumping manual cannot be cited to establish
 Commerce's practice. Marmen's Brief at 10. Even if this is so, however, the agency precedents
 discussed in that manual are evidence of the agency's practice.



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 explain why those representations outweighed the documentary evidence that Marmen provided

 in response to the agency's specific request for documentation of achange in material sales terms.

        The defense next argues in support of Commerce's reliance on aprior investigation into

 Vietnamese wind towers. Government's Brief at 37-38; Marmen's Brief at 13. The defense argues

 that, in both that case and this one, the record showed material changes in selling terms between

 purchase order and invoice date. Government's Brief at 37; Marmen's Brief at 13. Marmen

 additionally assumes that Commerce determined in the Vietnamese case that wind towers are not

 "large-scale capital goods." See Marmen's Brief at 13-14. Neither defense is persuasive.

        First, while there were [                               ]in the Vietnamese investigation,

 here [                                               ]. WTTC's Case Brief at 13-14; see also

 1SABCQR at FSQ-12 —FSQ-13. Moreover, Commerce did not adequately explain or support its

 apparent finding that Vestas's decision to [                 ]for rail-loading services constituted

 asignificant change in amaterial term of the wind tower purchase transaction. Nor did Commerce

 find in the Vietnamese case that wind towers are not "large-scale capital goods," or ground its

 date-of-sale analysis in such afinding. Issues and Decision Memorandum accompanying Utility

 Scale Wind Towers from the Socialist Republic cf Vietnam, 77 Fed. Reg. 75,984 (Dep't Commerce

 Dec. 26, 2012) (final deter. of sales at less than fair value) at 51-52. Thus, the Vietnamese case

 offers no support for Commerce's home-market date-of-sale selection here.

        Finally, the defense argues that Commerce adequately explained why it found its "Custom-

 Made" goods exception inapplicable in this case. Government's Brief at 38-40; Marmen's Brief at

 10-12, 14. The defense states that the Preamble does not universally require Commerce to use a

 date other than invoice date for custom-made goods. Government's Brief at 38-39; Marmen's Brief

 at 14. The Government also argues that Commerce adequately explained that the case at bar did




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 not merit application of the exception because (1) purchase orders were revised multiple times

 before invoicing, and (2) Marmen did not provide Vestas with post-sale services. Government's

 Brief at 39-40. Marmen argues that, in its rebuttal brief below, it explained that various precedents

 involving large, custom-made goods were not apposite to the facts here, because (1) Marmen did

 not provide Vestas with post-sale services, and (2) Commerce reasonably viewed wind towers as

 not constituting "large-scale capital equipment." Marmen's Brief at 11-12. These arguments are

 unavailing.

         As an initial matter, WTTC has not argued that Commerce is obliged to use adate other

 than invoice date in every case involving large and/or custom-made goods. What WTTC has

 argued is that, given the Preamble 's statement that it will "usually" be appropriate to use anon-

 invoice date as the date of sale for large, custom-made goods, and the agency's practice, Commerce

 was required to adequately explain and support its treatment of Marmen's home-market date of

 sale here.

         While the Government argues that the purchase orders that Marmen received were subject

 to multiple revisions, Commerce cited no evidence of multiple revisions to home-market purchase

 orders. Final IDM at 15-16. Indeed, the record does not reflect any revision to the purchase orders

 in the home market —just a[                                             ]. With respect to post-sale

 services, the cases on which Commerce appears to rely did not involve any finding that post-sale

 services are relevant to the date of sale determination. Compare Final IDM at 16 & n.91 (citing

 Letter from White & Case LLP to Sec'y Commerce, re: Utility Scale Wind Towers from Canada:

 Rebuttal Brüf(May 6, 2020) at 8, C.R. 222, P.R. 184), with WTTC's Brief at 27-30.

         While Marmen argues that Commerce reasonably declined to treat wind towers as "large-

 scale capital equipment," Marmen's Brief at 11-12, the only basis that Commerce provided for




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 finding prior cases involving large, custom-made goods to be inapposite was the lack of post-sale

 services. Final IDM at 16. Commerce did not find that wind towers are not "large," or "custom-

 made," or subject to "formal negotiation and contracting procedures," — which is how the

 Preamble characterizes the types of products that will "usually" have dates of sale other than

 invoice date. Preamble, 62 Fed. Reg. at 27,349. Indeed, as WTTC noted in its opening brief, such

 findings would appear difficult to square with the record, given that the wind towers at issue were

 in excess of [                                                 ], were made to unique, purchaser-

 specific specifications, were repeatedly described by Marmen as "custom-made," and were the

 subject of negotiations that went on [                   ], inclusive of a[

            ]. WTTC's Brief at 28; AQR at A-25, A-28; 1SABCQR at Exhibit FSQ-1 and Exhibit

 FSQ-12.

         For the reasons noted above and in WTTC's opening brief, WTTC respectfully submits

 that Commerce's home-market date of sale selection should be remanded for further consideration.

                  2.   Commerce Erred in Selecting Marmen's U.S. Date of Sale

         Marmen's customers in the U.S. market were Vestas and General Electric ("GE"). AQR at

 A-22. In response to Commerce's request that Marmen support its claim that material selling terms

 in the U.S. market were set only upon invoicing, Marmen identified apurchase order for which

 GE issued revisions to the price, quantity, and payment terms. 1SABCQR at FSQ-13 — FSQ-14

 and Exhibit FSQ-7. Marmen conceded, however, that [                                           ]with

 the [                          ]provided in a[                     ]Letter of Intent. Id. at FSQ-13

 —FSQ-16 and Exhibit FSQ-7; AQR at Exhibit A-6; WTTC's Case Brief at 35-36. Similarly, the

 quantity ordered [                         ]the terms of the Letter of Intent. Compare 1SABCQR




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 at Exhibit FSQ-7, with AQR at Exhibit A-6; WTTC's Case Brief at 37. The remaining change

 [                                                           ]. 1SABCQR at Exhibit FSQ-7.

        In its final determination, and over WTTC's objections, Commerce treated invoice date as

 Marmen's U.S. date of sale, providing largely the same rationales that it cited for treating invoice

 date as the home-market sales date. Final IDM at 15-16. But as explained in WTTC's opening

 brief and above, these rationales are insufficient. See discussion stipra at Section II.A and irfra at

 Section II.B; see also WTTC's Brief at 32-33. Moreover, Commerce did not address the degree to

 which the pricing/quantity "changes" that Marmen reported were [

                       ], and thus did not represent changes. Compare Final IDM at 15-16, with

 WTTC's Case Brief at 35-36, 39-40. Nor did it address WTTC's argument that the alteration in

 [               ]was not material on its face or in terms of the sale as awhole. Compare Final

 IDM at 15-16, with WTTC's Case Brief at 37. Commerce's Final IDM does not establish that the

 agency considered all aspects of the problem before it.

        The defense's arguments in support of Commerce's U.S. date-of-sale selection are largely

 identical with their arguments in support of the agency's home-market date-of-sale selection,

 which are addressed in Section II.A.1, above. Government's Brief at 30-40; Marmen's Brief at 4-

 14. The defense also argues that Marmen's U.S. customer, GE, amended one of its purchase orders

 five times over the course of six months, indicating that the purchase order did not represent afinal

 meeting of the minds as to material terms of sale. Government's Brief at 34, 37-38; Marmen's

 Brief at 9-10, 13. Marmen additionally argues that payment terms can constitute amaterial term

 of sale. Marmen's Brief at 10. These defenses are not compelling.

        As explained in WTTC's opening brief, Commerce failed to address WTTC's argument

 that the pricing/quantity "changes" to the GE purchase order in question were [




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                                     ]. WTTC's Brief at 33. In failing to consider important aspects


 of the problem before it — or at least, in failing to memorialize its consideration — Commerce left

 the Court with inadequate articulation of its reasoning and otherwise failed to comply with the


 standard of review. Likewise, while Marmen argues that Commerce and the courts have previously


 found that payment terms can be material to a sale, Marmen's Brief at 10, Commerce did not


 address WTTC's argument that the alteration here, which [


                       ], was immaterial on its face and in terms of the sale as awhole. Compare


 Final IDM at 15-16, with WTTC's Case Brief at 37. Thus, just as Commerce's selection of

 Marmen's home market date of sale should be remanded for further consideration, so should the


 agency's selection of Marmen's U.S. date of sale be remanded as well.


        B.      Commerce Erred in Treating Marmen's Home-Market Sales as Sales of
                Sections

        Marmen reported selling complete wind towers in Canada. AQR at A-31; see also


 1SABCQR at FSQ-7 ("Marmen Canada produced complete towers for Vestas."). The record

 contained no indication that Vestas [


                             ], or that Vestas and Marmen negotiated [

                           ]. 1SABCQR at Exhibit FSQ-12; see also WTTC's Brief at 8-11, 34-37.


 However, Marmen invoiced the towers it sold in Canada on a section-specific basis, because


 Vestas's [                                                  ]. WTTC's Brief at 34-35; AQR at A-

 31; 1SABCQR at FSQ-7 —FSQ-8; Letter from White & Case LLP to Sec'y Commerce, re: Utility


 Scale Wind Towers from Canada: Second Stipplemental Sections A, B, and C Response (Feb. 6,


 2020) at 7 and Exhibit SSQ-15, C.R. 181-183, P.R. 150. In its final determination, Commerce


 treated Marmen's Canadian sales as being of sections, rather than complete towers. Final IDM at


 17-18. But as WTTC explained in its opening brief and above, the agency failed to adequately



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 explain its determination, or adduce substantial record evidence to support it. WTTC's Brief at

 34- 37.

           The Government and Marmen defend Commerce's treatment of tower sales as section

 sales. Government's Brief at 40-43; Marmen's Brief at 14-18. The defense argues that

 Commerce's treatment was consistent with Marmen's invoicing practice and Commerce's own

 instructions. Government's Brief at 40-42; Marmen's Brief at 14-18. The Government also argues

 that Commerce reasonably disagreed that Marmen had misreported its Canadian sales as being of

 tower sections. Government's Brief at 41, 43. Marmen argues that Commerce's citation of

 WTTC's brief in its Final IDM necessarily means that the agency fully and adequately considered

 WTTC's arguments, and otherwise considered all important aspects of the problem before it.

 Marmen's Brief at 18. The Government concludes that WTTC has merely invited the Court to

 reweigh the evidence. Government's Brief at 43.

           These defenses are unpersuasive. As WTTC explained in its opening brief, the salient

 question before Commerce was not that of how the agency's questionnaire instructions were

 worded, or how Marmen's customer preferred invoices [

           ]. WTTC's Brief at 34-37. Rather, it was that of what Marmen actually sold. Marmen

 answered this question clearly: "Marmen Canada produced complete towers for Vestas."

 1SABCQR at FSQ-7. Indeed, in its response brief here, Marmen again confirms that it "sold towers

 to Vestas." Marmen's Brief at 15. Far from attempting to "sow confusion," as Marmen puts it, id.

 at 16, WTTC has pointed out that Commerce's treatment of Marmen's tower sales is inconsistent

 with the record, and with Marmen's continued insistence that it sold complete towers in its home

 market, not individual sections.




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        Further, all wind towers consist of one or more assembled sections. BDQR at C-14.

 Nonetheless, Commerce found that the first, and thus most important, question for product-

 matching purposes was that of whether the good subject to sale was acomplete tower (i.e., one or

 more sections meant to work together as acomplete tower) or merely aportion of atower (i.e., a

 single section that did not constitute acomplete tower). See, e.g., id. at C-10. In treating sales of

 what Marmen itself concedes were "complete towers" as sales of individual sections, 1SABCQR

 at FSQ-7, Commerce failed to grapple with the consequences of its own CONNUM coding system.

 And while Marmen argues that courts have upheld Commerce's reliance on invoice-line-specific

 CONNUM reporting, the cases that it cites either do not squarely address this issue, or are specific

 to factual scenarios that are not present here. Marmen's Brief at 16-17 (citing Dong-A Steel Co. v.

 United States, 475 F. Supp. 3d 1317, 1341 n.17 (Ct. Intl Trade 2020) (addressing Commerce's

 reliance on nominal dimensions/theoretical weights)); CC Metals & Alloys, LLC v. United States,

 145 F. Supp. 3d 1299, 1307 (Ct. Int'l Trade 2016) (addressing whether Commerce can rely on

 invoice-specific information for immaterial physical characteristics that are identical with the

 actual characteristics of the delivered goods). Nor can these cases answer the question of whether

 Commerce complied with the standard of review in determining to treat Marmen's sales of

 complete wind towers as sales of sections.

        Again, in rendering its determination, Commerce failed to confront an important aspect of

 the problem before it — namely, that of whether the customer had contracted to obtain complete

 towers. Again, Marmen was uniquely clear on that point, stating that it sold complete wind towers

 to Vestas. 1SABCQR at FSQ-7. Further, the record bore out Marmen's statement. See, e.g.,

 WTTC's Brief at 34-35, 39 (reviewing record evidence). Had Marmen been purchasing individual

 sections, rather than complete wind towers, one would expect them to purchase some combination




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 of sections, based on their needs, that would not make for aset of complete wind towers, e.g., ten

 top section, 15 bottom sections, 30 middle sections, etc. But instead, having aproject that called

 for [   ]complete wind towers, Marmen bought [         ]complete wind towers, which were made

 of [                   ]. Id. at 36; see also 1SABCQR at Exhibit FSQ-12.

         And contrary to Marmen's claim, Marmen's Brief at 18, the mere fact that Commerce cited

 WTTC's case brief does not automatically compel a finding that the agency appropriately

 considered either WTTC's arguments or the record as awhole — or that that agency adequately

 explained its consideration. See discussion stipra at 10-11. Rather than inviting the Court to re-

 weigh the evidence, WTTC is requesting that the Court ensure that Commerce complies with the

 standard of review. Because that standard requires that Commerce render a reasonable

 determination backed by adequate explanation and substantial record evidence, and Commerce

 has yet to make such a determination, this Court should remand Commerce's treatment of

 Marmen's Canadian sales as being of tower sections for further consideration.

         C.     Commerce Erred in in Declining to Resort to the Facts Available, with Adverse
                Inferences

         Commerce's selection of invoice date as Marmen's home and U.S. date of sale and

 treatment of Marmen's Canadian tower sales as sales of sections are inadequately explained and

 are unsupported by the record. Rather, the record supports treatment of dates other than invoice

 date as the date of sale in both markets, as well as treatment of Marmen's Canadian sales as sales

 of wind towers, not sections. Marmen therefore neither had home-market sales during the period

 of review, nor sales of goods in either market that were [

                      ]. WTTC's Case Brief at 10, 46; WTTC's Brief at 40-41. Marmen's

 antidumping duty margin should accordingly have been based on constructed value. WTTC's Case




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 Brief at 10-12, 46; WTTC's Brief at 40-41; see also 19 U.S.C. §§ 1677b(a), 1677b(a)(1),

 1677b(a)(4), and 1677b(e).

         The record, however, lacked the information necessary to determine constructed value. As

 WTTC explained in both its case brief and its opening brief in this appeal, the record lacked such

 information because Marmen's reporting was dilatory and misleading. For example, Marmen

 reported invoice date as its date of sale, based on asupposed "change" in delivery terms that was no

 change at all, but the subject of a[                         ]. AQR at A-21 —A-22 (noting Vestas 's

 responsibility for transportation of the wind towers); 1SABCQR at FSQ-12 and Exhibit FSQ-6.

 Similarly, Marmen [




                                                       ]. WTTC's Brief at 34-35 (reviewing record

 evidence). Because the record lacked the information necessary for accurate margin calculations, and

 lacked this information due to Marmen's failure to timely provide complete and accurate

 questionnaire responses, resorting to adverse inferences was appropriate in this investigation.

 Commerce, however, failed to adequately explain or support its determination not to employ such

 inferences. Id. at 37-44.

         The Government and Marmen defend Commerce's choice on two main grounds. The defense

 argues that Commerce explained that Marmen's reporting complied with the agency's instructions,

 and that Marmen did not withhold any information. Government's Brief at 45; Marmen's Brief at 20-

 21. The defense also argues that it would have been inappropriate for Commerce to apply adverse

 inferences, given that no information is missing from the record and that Commerce informed

 Marmen of no deficiency in its reporting. Government's Brief at 45-46; Marmen's Brief at 19-21.




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        But as WTTC described in its opening brief, Commerce did not adequately explain or support

 decision not to employ adverse inferences. First, Commerce did not adequately explain or support its

 finding that Marmen complied with the agency's questionnaire instructions. Commerce did not

 instruct Marmen to report its sales based on treatment of invoice date as the date of sale.

 Antidumping Duty Investigation Request for Information for Marmen, Inc., Utility Scale Wind

 Towers from Canada, Section A, B, and C (Aug. 19, 2019) at B-2 and C-1 —C-2, P.R. 54 ("Initial

 Questionnaire"); Letter from Erin Kearney, Program Manager, AD/CVD Operations, Off. VI to

 White & Case LLP, re: Product Characteristics for the Antidumping Duty Investigation cf Utility

 Scale Wind Towers from Canada (Sept. 17, 2019), P.R. 77. And while Commerce instructed

 Marmen to code its home-market database and report product characteristics on an invoice-line basis,

 Initial Questionnaire at B-2, it remains that Marmen sold towers to Vestas, not sections. 1SABCQR

 at FSQ-7.

        Nor did Commerce adequately explain or support its determination that Marmen was fully

 responsive to the agency's questionnaires, and did not withhold information. The information that

 Marmen originally submitted regarding dates of sale and the nature of the product it sold was so

 incomplete as to require two supplemental questionnaires. The information was also misleading in

 important respects. For example, while Marmen reported that its Canadian sales process began with

 the issuance of purchase orders by the customer, AQR at A-21 — A-22, [

                                                  ]of negotiations. 1SABCQR at Exhibits FSQ-1 and

 FSQ-12. Moreover, pursuant to a [                                 ]concluded between Marmen and

 Vestas, the sales process did not begin with issuance of apurchase order; rather, issuance of apurchase

 order meant that asale had definitively occurred. Id. at Exhibit FSQ-1, Section 2.2; see also WTTC's

 Brief at 42-43 (reviewing record evidence).




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        While Marmen argues that the [                                     ] did not govern [

           ]of its sales to Vestas, Marmen's Brief at 21, the [             ]belies this argument. The


 E                             ] details the [

               ]. 1SABCQR at Exhibit FSQ-1, Section 2.2. It also provides [

                                                                                         ]id. at Exhibit

 FSQ-1, Sections 6and 7. The [              ]also reflects [




                               ]. See id. at Exhibit FSQ-1, Sections 2.2, 5-8, and 10.

        Commerce's conclusion that no information is missing from the record is also inadequately

 explained and supported. As WTTC noted in its opening brief, this conclusion appears to rest in

 substantial part on Commerce's findings that invoice date was the appropriate date of sale in both

 the home and U.S. markets, and that Marmen's home-market sales were appropriately treated as

 sales of sections. See WTTC's Brief at 41. But neither conclusion is adequately explained or

 supported by the record. See discussion stipra at Sections ILA. & II.B; see also WTTC's Brief at

 19-31, 33-37. As such, the defense cannot shield Commerce's determination regarding adverse

 inferences from scrutiny by pointing to the agency's failure to inform Marmen of any deficiency

 in its reporting. Rather, just as Commerce's determinations regarding date of sale and treatment of

 Marmen's Canadian sales for product-matching purposes must be remanded for further

 consideration, so must its determination not to rely on the facts available, with adverse inferences.




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 III.   CONCLUSION

        For the reasons detailed above and in its opening brief, WTTC respectfully submits that this

 Court should remand the final results of Commerce's antidumping duty investigation into Canadian


 wind towers for further consideration regarding the issued raised in WTTC's appeal.


                                                      Respectfully submitted,


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 Dated: May 28, 2021




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                               CERTIFICATE OF COMPLIANCE

         Pursuant to Chamber Procedure 2(B)(1), the undersigned certifies that this brief complies


with the word limitation requirement. The word count for Wind Tower Trade Coalition's Reply

Brief, as computed by Wiley Rein LLP's word processing system (Microsoft Word 2019), is 6,978


words.




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                                          May 28, 2021
                                             (Date)
